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     MANUEL HERRERA
 6

 7
                           IN THE UNITED STATES MAGISTRATE COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                       )       No. CR-S-11-CR-296 WBS
                                                     )
11
                                                     )
            Plaintiff,                               )       STIPULATION AND PROPOSED
12
                                                     )       ORDER TO ALLOW MANUEL
     v.                                              )       HERRERA TO TRAVEL TO MEXICO TO
13
                                                     )       VISIT HIS MOTHER
     MANUEL HERRERA,                                 )
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                                                     )
                                                     )       Judge: Honorable Edmund F. Brennan
15          Defendant.                               )
                                                     )
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                                                     )
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            IT IS HEREBY STIPULATED AND AGREED between defendant Manuel Herrera, by
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     and through his undersigned defense counsel, and the United States of America by and through
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     its counsel, Assistant U.S. Attorney Lee Bickley, Mr. Herrera may, with the permission of his
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     Pre-Trial Services Officer, and pursuant to such conditions as required by his Pre-Trial Services
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     Officer, travel to Mexico at any time between November 26, 2014 and December 8, 2014 for the
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     purpose of visiting his mother (and family).
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            It is further stipulated Mr. Herrera must check-in with his Pre-Trial Services Officer as
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     required by his Pre-Trial Services Officer. Pre-Trial Services shall return Mr. Herrera's passport
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     to him on November 24, 2014. Mr. Herrera must return to the United States by December 8,
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 1   2014 and must check in with, and surrender his passport to, his Pre-Trial Services Officer within
 2   24 hours of returning to the United States, but in any event, no later than December 9, 2014.
 3

 4   IT IS SO STIPULATED.
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 6   Dated: November 13, 2014                             /S/ John R. Manning
                                                         JOHN R. MANNING
 7
                                                         Attorney for Defendant
 8                                                       Manuel Herrera

 9

10
     Dated: November 13, 2014                            /S/ Lee S. Bickley
11                                                       LEE S. BICKLEY
                                                         Assistant United States Attorney
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     IT IS SO ORDERED,
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     Dated: November 14, 2014.
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17                                                       EDMUND F. BRENNAN
                                                         United States Magistrate Judge
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